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March‌‌1,‌‌2022‌

BY‌‌EMAIL‌‌TO‌:‌‌NathanNYSDChambers@nysd.uscourts.gov‌

Honorable‌‌Alison‌‌J.‌‌Nathan‌
District‌‌Judge‌
Thurgood‌‌Marshall‌
United‌‌States‌‌Courthouse‌
40‌‌Foley‌‌Square‌
New‌‌York,‌‌NY‌‌10007‌

         RE:‌      United‌‌States‌‌v.‌‌Ghislaine‌‌Maxwell‌
                   Case‌‌No.:‌‌20-CR-330‌‌(AJN)‌
                   Southern‌‌District‌‌of‌‌New‌‌York‌

Dear‌‌Judge‌‌Nathan:‌

      Please‌‌be‌‌advised‌‌that‌‌I‌‌represent‌‌Juror‌‌50.‌‌I‌‌am‌‌writing‌‌in‌‌response‌‌to‌‌Your‌
Honor’s‌‌February‌‌24,‌‌2022‌‌‌Order‌‌(ECF‌‌No.:‌‌610)‌‌directing‌‌Juror‌‌50‌‌to‌‌appear‌‌for‌‌a‌
hearing‌‌on‌‌March‌‌8,‌‌2022‌.‌
      I‌‌write‌‌to‌‌inform‌‌the‌‌Court‌‌that‌‌Juror‌‌50‌‌will‌‌invoke‌‌his‌‌Fifth‌‌Amendment‌‌privilege‌
against‌‌self-incrimination‌‌at‌‌the‌‌hearing.‌
         Thank‌‌you‌‌for‌‌your‌‌consideration.‌

                                                          Sincerely,‌
                                                 Spodek‌‌Law‌‌Group‌‌P.C.‌
                                                   ‌/S/‌‌Todd‌‌A.‌‌Spodek‌

TAS/az‌

cc:‌     All‌‌Counsel‌‌(By‌‌Email).‌
         Juror‌‌50‌‌(By‌‌Email).‌




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